














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-312-CV



ALEJANDRA VELAZQUEZ
	
APPELLANT



V.



JOSE MANUEL VELAZQUEZ
	APPELLEE

 
	

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FROM THE 393RD DISTRICT COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Or Nonsuit Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL: &nbsp;CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ. &nbsp;



DELIVERED: &nbsp;February 12, 2009 &nbsp;



FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




